     Case 3:18-cr-00356-S Document 120 Filed 12/18/19                   Page 1 of 7 PageID 712


                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION


UNITED STATES OF AMERICA                             ║
                                                     ║
v.                                                   ║ CRIMINAL NO. 3-18-CR-356-S
                                                     ║
THOMAS D. SELGAS (1)                                 ║
MICHELLE L. SELGAS (2)                               ║
JOHN O. GREEN (3)                                    ║

          RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTIONS TO DISMISS

          NOW COMES, the United States of America, by and through its undersigned attorneys,

and files this Response in Opposition to Defendants’ Motions to Dismiss (Dkt. 111 and Dkt

116). As stated more fully below, Defendant Green’s and Defendant Michelle Selgas’ joint

motions to dismiss should be denied because: (1) the indictment properly alleges each element of

the charges and informs the Defendants of the charges against them; (2) alleged insufficient

evidence is not proper grounds for a pretrial motion to dismiss; (3) there are no discovery

violations that warrant dismissal; (4) at least one of the alleged overt acts in the conspiracy is

within the statute of limitations; (5) as the criminal conduct was ongoing, dismissal for alleged

delay is inappropriate; and (6) Defendants’ motions to dismiss are untimely pursuant to the

Court’s scheduling order.

                                             ARGUMENT

     I.      The Indictment is legally sufficient.

          As a preliminary matter, the Indictment in this case is legally sufficient. Rule 7(c) of the

Federal Rules of Criminal Procedure provides that the indictment “shall be a plain, concise and

definitive written statement of the essential facts constituting the offense charged.” Fed. R. Crim.

P. 7(c). To be sufficient, an indictment must include the elements of the offense intended to be

                                                     1
   Case 3:18-cr-00356-S Document 120 Filed 12/18/19                  Page 2 of 7 PageID 713


charged, apprise the defendant of what he or she must be prepared to meet at trial, and enable the

defendant to plead an acquittal or conviction as a bar to subsequent prosecution. Russell v.

United States, 369 U.S. 749, 763-64 (1962). An indictment may set forth the offense in the

language of the statute itself, provided the words of the indictment “fully, directly, and expressly,

without any uncertainty or ambiguity, set forth all the elements necessary to constitute the

offense intended to be punished.” Hamling v. United States, 418 U.S. 87, 117 (1974) (quoting

United States v. Carll, 105 U.S. 611, 612 (1882)).

         Here, the Indictment charges Defendants Thomas Selgas, Michelle Selgas and John

Green with conspiracy to defraud the United States, in violation of 18 U.S.C. § 371 and

Defendants Thomas Selgas and Michelle Selgas each with tax evasion, in violation of 26 U.S.C.

§ 7201. (Dkt. 1). The Indictment contains a statement of the essential facts and includes the

proper elements of each charge. The Indictment fairly informs the Defendants of the charges

against them, and ensures that the Defendants face no risk of future prosecution for the same

offense.

   II.      Insufficient evidence is not proper grounds for a pretrial motion to dismiss.

         To the extent the Defendants are arguing that the Government has not presented

sufficient evidence for a conviction, the Defendants’ motion is premature. (Dkt. 111). The

Government will present evidence in its case-in-chief to support the allegations in the

Indictment. While complaining about their perceived lack of evidence, the Defendants cite to

Rule 29 of the Federal Rules of Criminal Procedure; however Rule 29(a) specifically provides

that a motion under this rule is made after the government closes its evidence or after the close of

all evidence. See Fed. R. Crim. P. 29(a).




                                                 2
    Case 3:18-cr-00356-S Document 120 Filed 12/18/19                Page 3 of 7 PageID 714


       Indeed, the Defendants appear to be making their closing argument to the Court. After the

presentation of the evidence, the Defendants will have their opportunity to argue that they had

“numerous other legitimate reasons for using a trust account.” (Dkt. 111, ¶ 3). The Defendants’

pretrial attempt to minimize Defendant Green’s conduct and negate his intent to impair and

impede the Internal Revenue Service (“IRS”) must fail. The Defendants are merely raising

potential defenses that they will have the opportunity to present to the jury through cross-

examination of the Government’s witnesses or through their own case.

       Defendants John Green and Michelle Selgas also appear to be contesting the validity of

the 2005 tax assessments against Defendants Michelle and Thomas Selgas. Importantly, a tax

due and owing is not an element of a conspiracy to impair and impede the IRS. See 18 U.S.C.

§ 371. A jury may convict defendants of a conspiracy to defraud the Government by finding that

they had an agreement to impair and impede the IRS and one conspirator committed an overt act

in furtherance of that objective.

       Furthermore, the Defendants appear to be confusing the terms “tax due and owing” with

a “tax assessment.” Even when a tax due and owing is an element of the crime (as in tax evasion

under 26 U.S.C. § 7201), a formal civil tax assessment is not necessary. United States v. Nolen,

472 F.3d 362 (2006);1 United States v. Farnsworth, 456 F.3d 394, 403 (3d Cir.2006); United

States v. Daniel, 956 F.2d 540 (6th Cir. 1992). To the extent the Defendants are contesting




1
 Notably, Defendant Green entered his appearance pro hac vice in the Nolen case, but the court
subsequently revoked his admission for making false accusations against the magistrate judge.
Defendant Green was barred from practice in the Eastern District of Texas for five years for this
conduct. See United States v. Nolen, 472 at 370.



                                                 3
    Case 3:18-cr-00356-S Document 120 Filed 12/18/19                   Page 4 of 7 PageID 715


proper notice of the Selgases’ civil tax assessment, such argument is a matter for civil court and

is not relevant in this criminal case.2

    III.      There are no discovery violations that warrant dismissal of the Indictment.

           The Government complied with its discovery obligations in this matter and its continued

obligation to supplement discovery as appropriate. The Defendants, however, previously filed

two motions seeking to compel: (1) the production of the IRS Special Agent’s investigative

report; and (2) an expert report for Government’s Interest Only Lawyer’s Trust Account witness.

(Dkts. 50 and 51). After full hearings on both motions, the Magistrate Judge ultimately denied

the Defendants’ motions. The Defendants alleged no additional information to warrant further

consideration of their motions to compel. In any event, a motion to dismiss is not the proper

vehicle to re-litigate these issues.

    IV.       The Indictment was returned within the statute of limitations.

           The Grand Jury returned the Indictment against the Defendants in July 2018 charging,

among other things, a conspiracy to defraud the United States. According to the allegations in the

Indictment, the conspiracy began in 2005 and continued through August 2017. In their motion to

dismiss, the Defendants assert that the Indictment was returned after the expiration of the statute

of limitations to charge conspiracy. Again, the Defendants are wrong.

           The statute of limitations for a Klein conspiracy under the defraud clause of Section 371,

as charged here, is six years. See 26 U.S.C. § 6531; United States v. Aubin, 87 F.3d 141, 145 (5th

Cir. 1996); United States v. Heard, 709 F.3d 413, 427–28 (5th Cir. 2013). The statute of




2
 The Government filed a motion in limine to exclude exhibits concerning these Tax Court
matters. (Dkt. 119).
                                                    4
   Case 3:18-cr-00356-S Document 120 Filed 12/18/19                Page 5 of 7 PageID 716


limitations begins to run from the last overt act. See Grunewald v. United States, 353 U.S. 391,

396-7 (1957).

         As alleged in the Indictment, the use of Defendant Green’s IOLTA to impair and impede

the IRS in the collection, assessment and ascertainment of the Selgases’ tax liability occurred up

to August 2017, well within the statute of limitations. Furthermore, the depletion of Defendant

Thomas Selgas’ Individual Retirement Account and related correspondence regarding the tax

consequences of these distribution were alleged as additional overt acts that occurred from 2012

through 2016. See Dkt.1. Accordingly, overt acts within the statute of limitations were properly

alleged in the Indictment.

   V.       There was no unnecessary delay to warrant dismissal pursuant to Fed. R. Crim. P. 48

         While the Defendants’ conspiracy began in 2005, it continued through August 2017.

There was no unnecessary delay in presenting an indictment in this matter as Defendants’

criminal conduct was ongoing. Furthermore, while Rule 48(b) of the Federal Rules of Criminal

Procedure provides the Court discretion to dismiss an indictment for want of prosecution, it is

generally only appropriate when a delay has been purposeful or oppressive. United States v.

Acuna, 502 F. Supp. 2d 521, 527 (W.D. Texas, February 26, 2007). The Defendants have

presented no evidence of a purposeful or oppressive delay in this matter, and their motion to

dismiss for alleged delay must fail.

   VI.      The motion to dismiss is untimely.

         Pursuant to the Court’s Scheduling Order, pretrial motions were due on July 12, 2019.

(Dkt. 49). Accordingly, Defendants’ motions to dismiss are untimely. See also Fed. R. Crim. P.

12(b)(3) for motions that must be made before trial.




                                                 5
   Case 3:18-cr-00356-S Document 120 Filed 12/18/19                Page 6 of 7 PageID 717


                                       CONCLUSION

       For the above-stated reasons, the Government respectfully requests that the Court deny

the Defendants’ motions to dismiss the indictment.




                                                     Respectfully Submitted,

                                                     ERIN NEALY COX
                                                     UNITED STATES ATTORNEY

                                                     /s/ Mara A. Strier
                                            By:      ROBERT A. KEMINS
                                                     Massachusetts Bar No. 267330
                                                     Trial Attorney
                                                     U.S. Dept. of Justice, Tax Division
                                                     717 N. Harwood, Ste. # 400
                                                     Dallas, TX 75201
                                                     (214) 880-9781
                                                     Robert.A.Kemins@usdoj.gov

                                                     MARA A. STRIER
                                                     Florida Bar No. 644234
                                                     Trial Attorney
                                                     U.S. Dept. of Justice, Tax Division
                                                     150 M Street, NE
                                                     Mail Stop: 1.1505
                                                     Washington, DC 20002
                                                     (202) 514-5886
                                                     Mara.A.Strier@usdoj.gov




                                               6
   Case 3:18-cr-00356-S Document 120 Filed 12/18/19             Page 7 of 7 PageID 718




                               CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on December 18, 2019, the foregoing document
was filed using ECF, which will notify all counsel of record.


                                           /s/ Mara Strier
                                           Mara Strier
                                           Trial Attorney
                                           Tax Division, United States Department of Justice




                                              7
